Case 2:04-cv-02198-BBD-dkv Document 34 Filed 06/07/05 Page 1 of 2 Page|D 35

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UNITED STATES DISTRICT C0URT F"~ED B*' - '- --C-
FOR THE WESTERN DISTRICT 0F TENNESSEEU
WESTERN DIVISION 5 JUN ~' '! AH |U= IS
DlxiE ELECTRICAL MANUFACTURING COMPANY, HOBEHT P~ C"€ iHOL!O

CLEt-`i: :,< 33 ng“;' QT
WD. C’)F TH, §\’:EMPH!S
Plaintiff,
v. No. 04-2]98 DV
FASTEEL CORPORATION d/b/a FOUNDATION
TECHNOLOGY, INC; RICHARD RUIZ, LLC;
AND RICHARD RUIZ, Individually,

Defendants.

 

ORDER DISMISSING W]THOUT PREJUDICE RICHARD RUIZ, LLC
AND RICHARD RUIZ, INDIVIDUALLY

 

'l`his matter caine to be heard upon Motion_ Of plaintiff Dixie Electrical l\/lanufacturing
Conipany (“Dixie”) to dismiss, Without prejudice, the defendants Richard Ruiz, LLC and
Richard Ruiz, individually

WHEREFORE, lT lS ORDERED that the defendants Riehard Ruiz, LLC and Richard

Ruiz_ individually are hereby dismissed without prejudice as to re-i`lling.

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Date:

 

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with Ru|e 58 and/or 79(&) FHCP on

    

 

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This notice confirms a copy of the document docketed as number 34 in
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ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

